     Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 1 of 6 PageID 1




                                               IN THE DISTRICT COURT IN AND FOR
                                               THE MIDDLE DISTRICT OF FLORIDA
                                               FORT MYERS DIVISION

                                               CASE NO.
KAREN MAXEY,

         Plaintiff,

v.

MARCADIS & ASSOCIATES, P.A.,

      Defendant.
_____________________________________/

                                      NATURE OF ACTION

         1.      This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.

                                  JURISDICTION AND VENUE

         2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

         3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where the acts

and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff resides in

this district, and where Defendant transacts business in this district.

                                              PARTIES

         4.      Plaintiff, KAREN MAXEY (“Plaintiff”), is a natural person who at all relevant

times resided in the State of Florida, County of Charlotte, and City of Punta Gorda.

         5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

         6.      Defendant,    MARCADIS         &     ASSOCIATES,         P.A.     (“Defendant”)     or

(“MARCADIS”) is a professional association who at all relevant times was engaged, by use of
  Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 2 of 6 PageID 2




the mails and telephone, in the business of attempting to collect a “debt” from Plaintiff, as

defined by 15 U.S.C. §1692a(5).

       7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                  FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due a creditor other than Defendant.

       9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be owed or

due a creditor other than Defendant, arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes. Defendant uses instrumentalities of interstate commerce or the

mails in a business the principal purpose of which is the collection of any debts, and/or regularly

collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be owed or

due another.

       10.     Defendant sent correspondence to Plaintiff in the form of courtesy copies of

Garnishment Pleadings which did not contain the disclosures required pursuant to 15 U.S.C. §

1692e(11) and/or contained such disclosures in such small typeface as to not be readily

distinguishable and/or visible to Plaintiff. (See correspondence, attached hereto as Exhibit “A”).

       11.     Defendant, with actual knowledge and documentation that the funds it sought to

Garnish from Plaintiff were entirely exempt Social Security benefits, demanded that it be heard

as to the issue of exempt funds, and whereupon Defendant forced Plaintiff to attend a court

proceeding at which Defendant was absent without notice.
  Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 3 of 6 PageID 3




        12.      Said actions were solely designed to inconvenience, harass, oppress and abuse

Plaintiff, and constitute an unfair or unconscionable means used against Plaintiff in connection

with the collection of a debt.

        13.      Furthermore, said actions by Defendant directly and proximately resulted in

Plaintiff’s account becoming overdrawn and Plaintiff suffering actual damages in an amount

equal to, or greater than, $36.00.

        14.      Defendant’s actions constitute conduct highly offensive to a reasonable person,

and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer injury to

Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or emotional

distress.

                                              COUNT I

        15.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 14.

        16.      Defendant violated 15 U.S.C. § 1692e(11) by failing to notify Plaintiff during

each collection contact that the communication was from a debt collector.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 15 U.S.C. § 1692e(11);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                 amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law;
  Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 4 of 6 PageID 4




             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT II

       17.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 14.

       18.      Defendant violated 15 U.S.C. § 1692f by using unfair or unconscionable means

against Plaintiff in connection with an attempt to collect a debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692f;

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT III

       19.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 14.

       20.      Defendant violated 15 U.S.C. § 1692d by engaging in conduct, the natural

consequence of which was to harass, oppress, or abuse the Plaintiff.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692d;
Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 5 of 6 PageID 5




          b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

             amount of $1,000.00;

          c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

          d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

          e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

             allowed under the law;

          f) Awarding such other and further relief as the Court may deem just and proper.



                                      TRIAL BY JURY

    21.      Plaintiff is entitled to and hereby demands a trial by jury.



    Respectfully submitted this ___ day of _____, 20__.




                                                 Respectfully submitted,
                                                 KAREN MAXEY


                                                 By: ____________________
                                                 ALEX D. WEISBERG
                                                 FBN: 0566551
                                                 WEISBERG & MEYERS, LLC
                                                 ATTORNEYS FOR PLAINTIFF
                                                 5722 S. Flamingo Rd, Ste. 656
                                                 Cooper City, FL 33330
                                                 (954) 212-2184
                                                 (866) 577-0963 fax
                                                 aweisberg@attorneysforconsumers.com
Case 2:10-cv-00525-JES-SPC Document 1 Filed 08/27/10 Page 6 of 6 PageID 6




                               Exhibit “A”
